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10

11
                               IN THE UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13 CALIFORNIA COALITION FOR WOMEN
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
14 G.M.; A.S.; and L.T., individuals on behalf of
   themselves and all others similarly situated,                CASE NO. 4:23-CV-04155-YGR
15
                      Plaintiffs
16               v.
                                                                UNITED STATES’ NOTICE OF MOLD AND
17 UNITED STATES OF AMERICA FEDERAL                             ASBESTOS REPORTS
   BUREAU OF PRISONS, a governmental entity;
18 BUREAU OF PRISONS DIRECTOR
   COLETTE PETERS, in her official capacity;
19 FCI DUBLIN WARDEN THAHESHA JUSINO,
   in her official capacity; OFFICER
20 BELLHOUSE, in his individual capacity;
   OFFICER GACAD, in his individual capacity;
21 OFFICER JONES, in his individual capacity;
   LIEUTENANT JONES, in her individual
22 capacity; OFFICER LEWIS, in his individual
   capacity; OFFICER NUNLEY, in his individual
23 capacity, OFFICER POOL, in his individual
   capacity, LIEUTENANT PUTNAM, in his
24 individual capacity; OFFICER SERRANO, in
   his individual capacity; OFFICER SHIRLEY, in
25 his individual capacity; OFFICER SMITH, in his
   individual capacity; and OFFICER VASQUEZ,
26 in her individual capacity,

27                          Defendants.
28

     UNITED S TATES’ NOTICE OF MOLD AND ASBESTOS R EPORTS

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 1            The government respectfully provides this Notice of the mold and asbestos reports completed

 2 following inspection of the Dublin Satellite Camp.

 3            DATED this 5th day of April, 2024.

 4                                                          JESSE A. LASLOVICH
                                                            United States Attorney
 5

 6                                                          /s/ Madison L. Mattioli
                                                            MADISON L. MATTIOLI
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     UNITED S TATES’ NOTICE OF MOLD AND ASBESTOS R EPORTS

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